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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF OKLAHOMA


JASON R. DOLLARHIDE,                     )
                                         )
                    Plaintiff,           )
                                         )
v.                                       )       Case No. CIV-22-00642-PRW
                                         )
DENNIS DICKENS, et al.,                  )
                                         )
                    Defendants.          )

                                        ORDER

      On March 29, 2024, the Court granted in part and denied in part Plaintiff’s Motion

for Leave of the Court to File First Amended Complaint (Dkt. 38), and on April 10, 2024,

the Court ordered Plaintiff to file his amended complaint by April 30, 2024 (Dkt. 39). To

date, Plaintiff has not filed an amended complaint. On May 13, 2024, the Court ordered

Plaintiff to show cause as to why Plaintiff’s claims against Defendants Vaughn Cannon,

Darren Strauss, Harley Rhynes, Joshua Rojales, Colby Haigler, Jonathan Hicks, Shannon

Lyon, and Mike Sharp should not be dismissed without prejudice for failure to prosecute

(Dkt. 40). On May 23, 2024, Plaintiff responded that he has no objection to the Court

dismissing all named Defendants except Defendants Dennis Dickens and the Oklahoma

Department of Public Safety (Dkt. 41). On June 11, 2024, Plaintiff represented that he

would prepare and file his first amended complaint against Defendants Dennis Dickens

and the Oklahoma Department of Safety, but he still has not done so.




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      The Court therefore ORDERS Plaintiff to show cause, on or before September 5,

2024, as to why Plaintiff’s case should not be dismissed without prejudice in its entirety

pursuant to Federal Rule of Civil Procedure 41(b).

      IT IS SO ORDERED this 22nd day of August 2024.




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